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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, )                CRIM. NO. 06-00079 JMS/KSC
                              )
          Plaintiff,          )            ORDER DENYING DEFENDANT’S
                              )            RENEWED MOTION TO EXCLUDE
     vs.                      )            EXPERT TESTIMONY CONCERNING
                              )            THE IDENTIFICATION OF
NAEEM J. WILLIAMS,            )            BIOLOGICAL MATERIAL [DNA AND
                              )            SEROLOGY], AND REQUEST FOR
          Defendant.          )            DISCOVERY, DOC. NO. 2043, ON
                              )            REMAINING ISSUE
_____________________________ )

 ORDER DENYING DEFENDANT’S RENEWED MOTION TO EXCLUDE
   EXPERT TESTIMONY CONCERNING THE IDENTIFICATION OF
  BIOLOGICAL MATERIAL [DNA AND SEROLOGY], AND REQUEST
      FOR DISCOVERY, DOC. NO. 2043, ON REMAINING ISSUE

                                I. INTRODUCTION

             Defendant Naeem Williams (“Defendant”) is accused of, among other

things, unlawfully killing five-year-old Talia Williams (“Talia”) in violation of 18

U.S.C. §§ 2, 7(3), and 1111(a) & (b). At the upcoming trial, the government plans

to present expert testimony that, to a reasonable degree of scientific certainty,

several blood samples found in Defendant’s residence where he and Talia lived are

from Talia. This conclusion is based on the results of PCR STR DNA testing,

which found that a DNA sample from Talia matched the blood samples at each of

the thirteen STR loci tested.
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               Defendant’s May 28, 2013 Renewed Motion to Exclude Expert

Testimony Concerning the Identification of Biological Material [DNA and

Serology] (“Motion to Exclude Expert Testimony”), Doc. No. 2043-1, raises

several arguments that this PCR STR DNA methodology runs afoul of Daubert v.

Merrell Dow Pharm., Inc., 509 U.S. 579 (1993). On August 26, 2013, the court

entered its Preliminary Order Denying Defendant’s Motion to Exclude Expert

Testimony on all issues except for one regarding this PCR STR DNA testing. Doc.

No. 2136. The remaining issue is whether the expert report by Anthony J. Onorato

(the “Onorato Report”) failed to take into account the possibility of primer binding

site mutations in performing PCR STR DNA comparative analyses such that the

Onorato Report’s identification of Talia as the source of the samples is

inadmissible. Based on the following, the court DENIES Defendant’s Motion to

Exclude Expert Testimony on this remaining issue.

                                 II. ISSUE PRESENTED

               The Onorato Report outlines that a method of testing known as PCR

STR DNA testing was employed to determine the source of DNA from samples

collected from Defendant’s and Talia’s residence.1 See Doc. No. 1051-2. To that


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          The court previously outlined the scientific evidence and standard of review in detail in
its August 26, 2013 Order, and does not repeat it here. Rather, the court focuses on only those
facts necessary to adequately frame the remaining issue.

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end, the Onorato Report states that DNA was isolated from a number of samples

taken from Defendant’s residence, and “subjected to DNA typing using [PCR] at

the . . . thirteen (13) different short tandem repeat (STR) loci of the AmpRSTR®

Profiler Plus™ ID and AmpRSTR® Cofiler™ Amplification Kits.” Doc. No. 1051-

2 at 3. Based on the results, the Onorato Report concludes that to a reasonable

degree of scientific certainty, Talia is the source of the DNA for several samples.

Id.

             Defendant initially argued that the Onorato Report failed to properly

take into account the possibility of primer binding site mutations in performing

PCR STR DNA comparative analyses between samples from Talia and those taken

from the residence. Specifically, PCR STR DNA analysis was performed using

kits (i.e., boxes containing all the necessary chemicals and primers) manufactured

by Applied Biosciences. See Doc. No. 2068-1, Heather LaSalle Decl. at 16. The

primers in these kits are pieces of DNA that assist in starting the PCR process. Id.

These primers are specific to Applied Biosystems, and the other major

manufacturer of PCR STR kits, Promega, uses different primers (i.e., the particular

DNA sequence of the primer differs). Id. at 17. Given these differences in primers

between the kits, the STR profile obtained from a Promega kit may differ from that

from an Applied Biosystems kit, and an occurrence called “allelic dropout” may


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occur. Defendant argued that these differing results between the two

manufacturers injects uncertainty -- Defendant reasoned that “if one lab tested the

evidence using a Promega kit and the results were inculpatory, and then another lab

retested the same evidence with [an] Applied Biosystems Elmer kit and the results

were exculpatory, then one expert would have to testify that both kits were reliable

and generally accepted.” Doc. No. 2043-1, Mot. at 38-39.

             In opposition, the government asserted that the FBI uses Applied

Biosystems kits for all of its PCR STR DNA typing, Doc. No. 2068-1, LaSalle

Decl. at 17, such that there is no possibility of getting differing results based on a

change in the kit used. As Heather LaSalle, FBI Forensic Examiner for the

Nuclear DNA Unit, explains, “[a] good analogy for this scenario is that if Applied

Biosystems PCR STR DNA kits are like apples and Promega PCR STR DNA kits

are like oranges [then] for this case the FBI lab only compared apples to apples.”

Id.

             In reply, Defendant asserted, in a one-sentence argument, that the

government’s explanation lacks merit due to People v. Pizarro, 158 Cal. Rptr. 3d

55 (Cal. App. 2013), which issued only a week before Defendant filed his Motion

to Exclude Expert Testimony, and which raised concerns of allelic drop-out as

opposed to the problem of primer site binding mutations caused by differing kits.


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             Because the parties did not address Pizarro in any meaningful way,

the court required supplemental briefing addressing: (1) whether Pizarro’s

concerns regarding allelic drop-out are viable and applicable in this action, and

(2) if Pizarro’s concerns do apply to this action, how such concerns figure into the

Daubert analysis. Doc. No. 2135. The government submitted a Supplemental

Opposition on September 23, 2013. Doc. No. 2178. In the meantime, Pizarro was

depublished on September 18, 2013. On October 11, 2013, the court provided the

parties a copy of the letter requesting depublication, which is a public record. Doc.

No. 2201. Defendant submitted a Supplemental Reply on October 14, 2013. Doc.

No. 2202.

                                III. DISCUSSION

             In Pizarro, the defendant challenged the prosecution’s evidence that

PCR STR DNA testing established that the defendant’s DNA matched all thirteen

loci of a sample found on a rape and murder victim, raising many of the arguments

Defendant raises in this action. See 158 Cal. Rptr. 3d at 90. The prosecution’s

expert, Steven Meyers, testified that if PCR amplification does not occur equally at

both alleles of a sample (usually due to a sequence variation at one allele), the peak

heights will be different, and in extreme cases an allele may “drop out.” Id. When

challenged on cross-examination, Myers acknowledged the studies demonstrating


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that ABI kits and Promega kits may produce different null allele results, and

explained that this difference is not an issue so long as the same kit is used because

the results will be internally consistent within a kit. Id. at 91. Further, although a

peak height imbalance in the resulting electropherogram may indicate that allelic

dropout has occurred, Myers testified that there was no such indication in this case.

Id. at 97. Pizarro determined that the trial court did not abuse its discretion in

admitting the DNA evidence under California’s three-prong test for admission of

scientific evidence as outlined in People v. Kelly, 130 Cal. Rptr. 144 (Cal. 1976), --

that is, “the trial court had no reason to find that Myers failed to follow correct

scientific procedure.” Id. at 98.

             Despite affirming the trial court and recognizing that it was not a

scientific body, Pizarro nonetheless took the opportunity to express its opinion that

“allelic dropout has the potential to falsely incriminate an innocent defendant.” Id.

Pizarro explained that the issue of allelic dropout is not an issue when the same

primers are used and the two samples ultimately come from the same person --

even if allelic dropout occurs, both samples will display this phenomena and a

match will occur because the DNA is the same. Id. Where the two samples at

issue come from different people, however, Pizarro expressed concern that allelic

dropout in one sample may lead to a false match that falsely incriminates an


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innocent defendant. Id. at 101. For example, if the perpetrator is a heterozygous

14, 19 at a particular allele and the 19 is a mutant allele which drops out, the

genotype will appear as a homozygous 14, 14. Id. If the defendant is a

homozygous 14, 14, however, he will be considered a match at this allele.

Although Pizarro recognized that “[w]e have not found reference to this scenario

in the literature,” it asserted that “[i]f our conclusions are accurate, the widely held

idea that allelic dropout cannot cause false results in a criminal case as long as the

same primers/kit are used on both the defendant’s and the perpetrator’s DNA

samples is a very serious falsehood based on the improper assumption that the

defendant is guilty.” Id. Pizarro therefore suggested the scientific community

consider null allele recovery where the analyst observes a homozygous genotype

that raises the suspicion that a second allele has dropped out. Id. at 104-05.

             For several reasons, the court rejects that Pizarro supports

Defendant’s argument that the PCR STR DNA testing should be excluded pursuant

to Daubert. As an initial matter, Pizarro was recently depublished at the

California Attorney General’s request. See Doc. No. 2201. The California

Attorney General requested that the California Supreme Court depublish Pizarro, a

California Court of Appeal, Fifth District opinion, because its discussion regarding

null alleles is dicta, is based solely on the court’s own conjecture, and is not


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supported by scientific evidence. Id. Although the California Supreme Court did

not give a reason for depublishing, Pizarro is nonetheless depublished and

therefore not precedent under California law and cannot be cited in California

courts except in narrow circumstances. See Cal. Ct. R. 8.1115; Farmers Ins.

Exchange v. Superior Court, 159 Cal. Rptr. 3d 580, 591 (Cal. App. 2013)

(“Without precedential value, a depublished opinion is no longer part of the law

and thus ceases to exist.”). On this basis alone, the court finds that Pizarro should

be treated, at best, with skepticism.

               Second, even if Pizarro’s dicta was published and/or is citable before

this court,2 it is not persuasive on the issue presented here -- i.e., whether the PCR

STR DNA testing in this action runs afoul of Daubert. Pizarro discussed

admission of scientific evidence under California state law, not Daubert. And even

if there are parallels between California law and Daubert, Pizarro affirmed the trial

court’s admission of the PCR STR DNA testing on the basis that it is a well-



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          Despite California Rule of Court 8.1115, Defendant correctly points out that the Ninth
Circuit has on several occasions relied upon unpublished California state opinions. See, e.g.,
Beeman v. Anthem Prescription Mgmt., LLC, 689 F.3d 1002, 1008 n.2 (9th Cir. 2012) (relying
upon unpublished cases to “lend support” for proposition that a published case “accurately
represents California law” (citing Emp’rs Ins. of Wausau v. Granite State Ins. Co., 330 F.3d
1214, 1220 n.8 (9th Cir. 2003))). Here, Defendant seeks to rely on Pizarro’s state-law dicta, a
matter that does not “lend support” to the Daubert issue before the court.



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accepted methodology in identifying the source of DNA samples and nothing

called into question this methodology. Thus, if anything, Pizarro supports

admission of the PCR STR DNA testing, with its concerns about null alleles (to the

extent such concerns are supportable) forming the basis of cross-examination

and/or rebuttal testimony.

             Finally, turning to the substance of Pizarro’s concerns, it appears they

are based on a misunderstanding regarding the science at issue. The example

Pizarro provides of a null allele causing a false match ignores that PCR DNA STR

testing involves multiple loci. As LaSalle explains, “[t]he entire 13 locus profile is

evaluated by the DNA examiner during interpretation of a DNA profile,” and [t]he

potential of having two profiles match completely except for one of two alleles, at

one locus (due to a mutation in the primer binding region) is highly improbable.”

Doc. No. 2178-1, LaSalle Decl. ¶ 11. In fact,

             The chances of having two profiles that match at twelve
             loci, but differ at the thirteenth locus due to one allele, is
             as improbable as two people matching at all thirteen STR
             loci with only sequence difference in their DNA.
             Scientifically, these two scenarios are identical, the
             chances of a null allele difference being the only
             distinction between two DNA profiles is exceedingly
             rare.

Id. ¶ 4. Faced with such result, “a DNA examiner would recognize this as an

uncommon event and would further examine these profiles in their entirety,

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examining possible scenarios,” including whether different kits were used, the

samples came from close genetic relatives, or that the quality of DNA impacted the

results.3 Id. ¶¶ 6-7. Indeed, the existence of null alleles is a known phenomenon,

which “is taken into account on a case-by-case and profile-by-profile basis and is

managed according to validated methodology, standard operating procedures,

[Scientific Working Group on DNA Analysis Methods] guidelines and the FBI

Quality Assurance Standards.” Id. ¶ 13. LaSalle explains that in comparison,

Pizarro’s proposal for null allele recovery where an analyst observes a

homozygous genotype raising suspicions of allelic dropout would be difficult for a

forensic laboratory to perform reliably according to accepted scientific

methodology. Id.

               In sum, LaSalle exposes significant issues with Pizarro’s assertions

that allelic dropout may cause improper identification. And this criticism of

Pizarro is only highlighted by the facts that (1) Pizarro recognized it was not a

scientific body; (2) Pizarro presented its concerns without any scientific evidence

expressing these same concerns; and (3) Defendant in this action only parrots

Pizarro’s concerns without presenting any expert evidence of his own supporting

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          For purposes of this action, none of these is a possible scenario in this action -- the
same kit was used, Talia’s parents were typed and excluded, and the allelic dropout was guarded
against by ensuring that peak levels met relevant standards. See Doc. No. 2178-1, LaSalle
Decl. ¶ 7.

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that Pizarro was justified with its these concerns. Rather, the evidence presented

establishes that PCR STR DNA analysis is a well-accepted science that has been

researched and validated by multiple sources.

              Thus, at most, Defendant’s concerns of allelic dropout go to the

weight of the evidence, not its admissibility. The court therefore finds that the

PCR STR DNA analysis passes Daubert scrutiny.

                                  IV. CONCLUSION
              For these reasons, the court DENIES Defendant’s Renewed Motion to

Exclude Expert Testimony Concerning the Identification of Biological Material

[DNA and Serology], Doc. No. 2043, as to the remaining issue.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, October 21, 2013.




                                           /s/ J. Michael Seabright
                                          J. Michael Seabright
                                          United States District Judge




United States v. Williams, Cr. No. 06-00079 JMS/KSC, Order Denying Defendant’s Renewed
Motion to Exclude Expert Testimony Concerning the Identification of Biological Material [DNA
and Serology], and Request for Discovery, Doc. No. 2043, on Remaining Issue


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